          Case 1:23-cv-01615-CKK Document 23-4 Filed 07/11/23 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC.,

                   Plaintiff,
         v.                                         Civil Action No. 1:23-cv-01615
XAVIER BECERRA, U.S. Secretary of Health &
Human Services, et al.

                   Defendants.


               DECLARATION OF JACOB ROTH IN SUPPORT OF
               PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         I, Jacob M. Roth, declare as follows pursuant to 28 U.S.C. § 1746:

         1.    I am an attorney at Jones Day and counsel for Plaintiff Merck & Co.,

Inc. I am over the age of 18 and have personal knowledge of the facts set forth here.

         2.    Attached as Exhibit A is a true and correct copy of a document issued

on June 30, 2023, by the Centers for Medicare and Medicaid Services (CMS), entitled

“Medicare Drug Price Negotiation Program: Revised Guidance, Implementation of

Sections 1191 – 1198 of the Social Security Act for Initial Price Applicability Year

2026.”        It   was   accessed   via   CMS’s   website    on   July   7,   2023,   at

https://www.cms.gov/inflation-reduction-act-and-medicare/medicare-drug-price-

negotiation.

         3.    Attached as Exhibit B is a true and correct copy of the template

“Medicare Drug Price Negotiation Program Agreement,” issued by CMS and accessed

via CMS’s website on July 7, 2023, at https://www.cms.gov/inflation-reduction-act-

and-medicare/medicare-drug-price-negotiation.
       Case 1:23-cv-01615-CKK Document 23-4 Filed 07/11/23 Page 2 of 2




      4.     Attached as Exhibit C is a true and correct copy of a memorandum

issued on March 15, 2023, by CMS, entitled “Medicare Drug Price Negotiation

Program: Initial Memorandum, Implementation of Sections 1191 – 1198 of the Social

Security Act for Initial Price Applicability Year 2026, and Solicitation of Comments.”

It was accessed via CMS’s website on July 7, 2023, at https://www.cms.gov/inflation-

reduction-act-and-medicare/medicare-drug-price-negotiation.

      5.     Attached as Exhibit D is a true and correct copy of a study entitled

Drugs likely subject to Medicare negotiation, 2026–2028. The study was published in

March 2023 by the Journal of Managed Care and Specialty Pharmacy.              It was

accessed via the Journal’s website on July 7, 2023, at https://www.jmcp.org/doi/10.

18553/jmcp.2023.29.3.229?url_ver=Z39.88-2003&rfr_id=ori:rid:crossref.org&rfr_

dat=cr_pub%20%200pubmed.

      I declare under penalty of perjury that the foregoing is true and correct.


Dated: July 11, 2023
                                               /s/ Jacob “Yaakov” M. Roth
                                               Jacob (“Yaakov”) M. Roth




                                         -2-
